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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:06CR3040
          v.                        )
                                    )
NOE GUSTAVO CHAVEZ LOYA,            )
                                    )                    ORDER
                Defendants.         )
                                    )
                                    )


     Upon defendant Loya’s oral motion to enter a change of plea
and request for change of plea hearing before the undersigned,


     IT IS ORDERED,

     1.   Defendant’s change of plea hearing is scheduled before
the undersigned on December 8, 2006 at 9:00 a.m. in Courtroom #2,
United States Courthouse, Lincoln, Nebraska.

     2.   For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


     DATED this 17th day of November, 2006.


                                   BY THE COURT:


                                    David L. Piester
                                   s/
                                   David L. Piester
                                   United States Magistrate Judge
